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                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF LOUISIANA

ROBERT REMEDIES                        §        CIVIL ACTION
                                       §
versus                                 §        NO.
                                       §
ADVANCED EMISSIONS                     §        SECTION:
SOLUTIONS, INC.; ADA CARBON            §
SOLUTIONS (RED RIVER), LLC and         §        MAGISTRATE:
ABC INSURANCE COMPANY                  §
                                       §
______________________________________________________________________________


                                  Notice of Removal

       Defendant, ADA Carbon Solutions (Red River), LLC, without waiving but

reserving all rights and defenses, including those under Rule 12 of the Federal Rules

of Civil Procedure, gives notice of the removal of this action from the 19th Judicial

District Court for East Baton Rouge Parish, Louisiana, to the United States District

Court for the Middle District of Louisiana. In support of this Notice, the defendant

states as follows:

                                 History of the Action

       1.     The plaintiff, Robert Remedies, filed a personal injury action on or about

April 5, 2022, in the 19th Judicial District Court for East Baton Rouge Parish,

entitled Robert Remedies v. Advanced Emissions Solutions, et al., bearing civil docket

number 717515.

       2.     In his Petition for Damages, the plaintiff alleges that he sustained serious

injuries in a fire at an industrial facility on April 22, 2021, as a result of the negligence

of the defendants.
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                                  Grounds for Removal

      3.     The plaintiff’s action is removable on the basis of complete federal

diversity jurisdiction pursuant to 28 U.S.C. §§ 1332(a) and 1441 et seq. This Court

also has supplementary jurisdiction pursuant to 28 U.S.C. § 1367.

                                       Diversity

      4.     Complete diversity exists in this case. According to the Petition, the

plaintiff resides in Louisiana.

      5.     The defendant, ADA Carbon Solutions (Red River), LLC will be referred

to herein as “Red River.” Red River is a Delaware limited liability Company. It has

one member, ADA Carbon Solutions (Operations), LLC, referred to herein as

“Operations.” Operations is a Delaware limited company. The sole member of

Operations is ADA Carbon Solutions, LLC, which also is a Delaware limited liability

company.

      6.     Advanced Emissions Solutions, Inc., upon information and belief, is a

Delaware corporation with its principal place of business in Colorado.

      7.     ABC Insurance Company(s) is an unnamed, fictitious entity, so its

citizenship is unknown and may be disregarded. 28 U.S.C. § 1441(b)(1).

      8.     As a result of the above, the plaintiff, Robert Remedies, is a citizen of

Louisiana, because the citizenship of a natural person is determined by the state in

which that person is domiciled.

      9.     As a limited liability company, Red River is a citizen of the state of its

members. Harvey v. Grey Wolf Drilling Co., 542 F.3d 1077 (5th Cir. 2008). As noted



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above, Red River is a citizen of Delaware, because its sole member, Operations, is a

Delaware limited liability company.

        10. Advanced Emissions Solutions, Inc. is a citizen of Delaware or Colorado,

because a corporation’s citizenship is determined by its state of incorporation or its

principal place of business. 28 U.S.C. § 1332(c)(1).

        11. As a result, no defendant is a citizen of Louisiana, the state in which the

plaintiff, Robert Remedies, is a citizen. Therefore, complete diversity exists in this

case.

                              Amount in Controversy

        12. The removal of this case is authorized by the provisions of 28 U.S.C. §

1441 et seq., because the amount in controversy exceeds $75,000. The plaintiff did not

specify the amount of damages sought in his Petition for Damages, as required under

the Louisiana Code of Civil Procedure 893(A). However, the plaintiff alleged in his

petition that he sustained serious injuries and suffered damages including

compensatory damages, pain and suffering, mental anguish, disfigurement, and

economic loss. The plaintiff even seeks exemplary damages. The plaintiff alleged that

he has been damaged “in a sum far more than the minimum jurisdictional limits” of

the state district court.

        Additionally, the plaintiff was an employee of the defendant, Red River, at the

time of the accident sued upon. Red River represents that the plaintiff’s medical

expenses totaled at least $45,000. When the plaintiff’s general damages and economic

losses are considered, the plaintiff’s alleged damages exceed $75,000. Additionally,



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the plaintiff’s demand for exemplary damages further increases the amount in

controversy above $75,000.

                                       Timeliness

      13. This matter is timely filed under 28 U.S.C. § 1446(b). The defendant, Red

River, was served on April 14, 2022.

      14. Promptly after the filing of this Notice of Removal, a copy of this Notice

will be filed with the Clerk of the 19th Judicial District Court for East Baton Rouge

Parish and written notice of this filing will be given to all parties as required by law.

28 U.S.C. § 1446(d).

      15. A copy of all pleadings in the state court record is attached as Exhibit A.

                             Consent of All Defendants

      16. The remaining defendant, Advanced Emissions Solutions, Inc., upon

information and belief, has not been served with the plaintiff’s petition. See Exhibit

A. As a result, the consent of Advanced Emissions Solutions, Inc., is not necessary.

28 U.S.C. § 1446(b)(2)(A).

      WHEREFORE, the defendant, ADA Carbon Solutions (Red River), LLC,

hereby removes the state court lawsuit from the 19th Judicial District Court for East

Baton Rouge Parish to the United States District Court for the Middle District of

Louisiana, and requests such other and further relief to which it is justly entitled.




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                                          Respectfully submitted:

                                          COMEAUX & GRACE

                                            /s/ Ira J. Rosenzweig
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                              Certificate of Service

      I hereby certify that on this 13th day of May, 2022, I served a copy of the

foregoing Notice of Removal on counsel for all parties to this proceeding by facsimile

transmission and email.

                                                s/ Ira J. Rosenzweig




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